                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  NO. 3:03CR-70

UNITED STATES OF AMERICA,                      )
                                               )
              Plaintiff,                       )
                                               )                         ORDER
   v.                                          )
                                               )
FELIPE JESUS MADRIGAL,                         )
                                               )
              Defendant.                       )
                                               )



        DEFENDANT FELIPE JESUS MADRIGAL’s pro se motion for release from custody

(Doc. No. 489) is DENIED AS MOOT because, according to the US Bureau of Prisons’ website

(bop.gov), the Defendant was released on June 27, 2013.

                                             Signed: September 4, 2013




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